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                              12
                              13                             UNITED STATES DISTRICT COURT

                              14                                 DISTRICT OF ARIZONA
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                              15
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                                   Mira Holdings, Inc,                    Case No.2:23-cv-PHX-MTL
                              16   A Minnesota Corporation,
                                                                          FIRST AMENDED COMPLAINT FOR:
                              17
                                          Plaintiff,
                              18                                          [1] DECLARATORY RELIEF
                                   v.                                     LANHAM ACT, 15 U.S.C.
                              19                                          §1114(2)(D)(iv) and §1125 (a);
                                   UHS of Delaware, Inc., a Delaware      and
                              20
                                   corporation,                           [2] REVERSE DOMAIN NAME
                              21                                          HIJACKING
                                          Defendant.
                              22                                          ANTICYBERSQUATTING
                                                                          CONSUMER
                              23                                          PROTECTION ACT,
                              24                                          15 U.S.C. § 1114](2)(D)(v) and §1125(d)
                              25
                              26
                              27
                              28
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                               1   Plaintiff, Mira Holdings, Inc (“Mira Holdings” or “Plaintiff”), files this, its First
                               2   Amended Complaint against UHS of Delaware, Inc., Inc. (“UHS” or “Defendant”), and
                               3   alleges as follows:
                               4                                JURISDICTION AND VENUE
                               5      1.      This is a civil action for Declaratory Judgment under the Lanham Act, 15
                               6   U.S.C. §§ 1114(a) and 1125(a); and reverse domain name hijacking in violation of the
                               7   Anticybersquatting Consumer Protection Act, 15 U.S.C. §1114(2)(D)(v).
                               8      2.      This Court has personal jurisdiction over Defendant as Defendant has
                               9   consented to jurisdiction by this court in selecting “Registrar” as “Mutual Jurisdiction”
                              10   with the World Intellectual Property Organization (WIPO) in accordance with Paragraph
                              11   3(b)(xii) of the Uniform Domain Dispute Resolution Policy (UDRP) of the International
                              12   Committee of Assigned Names and Numbers (ICANN).
                              13      3.      Venue in this Court exists as the office of the Registrar of the domain name,
                              14   GoDaddy.com, LLC. is located in Scottsdale, Maricopa County, Arizona, and, pursuant
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                              15   to 28 U.S.C. § 1391(b)(1) and (c), as under subsection (b)(2) because a substantial part of
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                              16   the events giving rise to the claims alleged in this Complaint occurred in this District.
                              17                                             PARTIES
                              18      4.      Plaintiff, Mira Holdings, Inc, is a Minnesota Corporation with its office at
                              19   2751 Hennepin Avenue, Suite 159, Minneapolis, Minnesota 55408.
                              20      5.      On information and belief, Defendant, UHS of Delaware, Inc., is a Delaware
                              21   Corporation having its principal place of business at 367 South Gulph Road, King of
                              22   Prussia, Pennsylvania 19406.
                              23                             NATURE OF THE CONTROVERSY
                              24      6.      This is an action for Declaratory Judgment and certain other statutory
                              25   remedies under the Trademark laws of the United States and the Anticybersquatting
                              26   Consumer Protection Act (“ACPA”) 15 U.S.C. §1125(d). The Plaintiff is the registrant
                              27   of the internet domain name ProminenceHealth.com.              The domain name has been
                              28   “locked” by the registrar, GoDaddy.com, and is at immediate risk of being transferred
                                                                                  2
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                               1   away from Plaintiff by, and as a result of, the actions of Defendant, which claims
                               2   trademark rights and certain other rights with respect to the term and the domain name
                               3   ProminenceHealth.com. The Plaintiff seeks a determination by this court that the
                               4   Plaintiff’s registration and/or use of ProminenceHealth.com is not, and has not been in
                               5   violation of the ACPA and that Plaintiff’s use of ProminenceHealth.com constitutes
                               6   neither an infringement, a threat of dilution of Defendant’s trademark, nor a violation of
                               7   the ACPA.
                               8   FACTS COMMON TO ALL CLAIMS OF RELIEF
                               9      7.       This case involves “reverse domain name hijacking,” which occurs when an
                              10   individual or an entity may allege that it is the owner of a trademark and assert spurious
                              11   claims of trademark infringement and trademark dilution against the owner of a domain
                              12   name whose chosen domain name is similar or identical to the registered trademark.
                              13   Defendant is attempting to wrest control of Plaintiff’s domain name by asserting baseless
                              14   allegations of trademark infringement, trademark dilution and cybersquatting.
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                              15      8.       Plaintiff is in the business of acquiring and using for business purposes,
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                              16   various generic domain names as and when they become available, for leasing, sale or
                              17   email services.
                              18      9.       The disputed Domain Name ProminenceHealth.com was originally
                              19   purchased by the Plaintiff for a cost of $755 in 2021. Pursuant to his business plan,
                              20   Plaintiff purchased and registered the domain name on or about April 15, 2021, in good
                              21   faith at which time (and at all times subsequent thereto) he believed and has had
                              22   reasonable grounds to believe that the use of the domain name was a fair use or otherwise
                              23   lawful, and has “parked” it with a reputable monetizer, Bodis.com, since acquisition.
                              24   Bodis.com does not permit the Plaintiff to exercise any control over the parking services
                              25   provided by Bodis.com.
                              26      10.      Plaintiff is in the business of registering domain names and using them for
                              27   email addresses or sale or lease; is the registrant of many generic domain names and has
                              28   accumulated over 1,000 generic names that are used in this manner.
                                                                               3
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                               1      11.      Plaintiff started investing in domain names about 10 years ago.
                               2   "CooperativeHealth.com”, “MintHealth.com”, and “PermanentHealth.com" are similar
                               3   generic domains that are owned by Plaintiff.
                               4      12.     Defendant UHS has no registered U.S. trademarks for "Prominence Health"
                               5   while Plaintiff’s domain name is "ProminenceHealth.com" which is made up of 2
                               6   common words. A USPTO Trademark search using TESS (Trademark Electronic Search
                               7   System) for the terms “Prominence Health” provides “zero” registered results. On June
                               8   2, 2021, Complainant applied for a trademark at the U.S.P.T.O. for “Prominence Health”
                               9   and made no claim for the exclusive use of the word “health”. That trademark has not yet
                              10   been registered. [EXHIBIT A]. In fact, on September 6, 2022, U.S.P.T.O. notified that
                              11   the Application for the Trademark has been abandoned for failure to file a Statement of
                              12   Use. [EXHIBIT B].
                              13      13.     On October 21st, 2022, Defendant filed a Complaint thereby initiating an
                              14   arbitration proceeding against Plaintiff with the World Intellectual Property Organization
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                              15   (WIPO) in accordance with the Uniform Domain Name Dispute Resolution Policy
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                              16   (“UDRP”) adopted by the Internet Corporation for Assigned Names and Numbers
                              17   (“ICANN”) against the Plaintiff for the domain name ProminenceHealth.com. On or
                              18   about October 21st, 2022, the registrar of the domain name, Godaddy.com “locked” the
                              19   domain name, thereby prohibiting Plaintiff from utilizing the domain name in accordance
                              20   with the uses typically enjoyed by a registrant of a domain name. The action to “lock”
                              21   the domain name was in accordance with the UDRP and associated procedures.
                              22      14.     On January 12, 2023, the WIPO panel assigned to the case rendered a decision
                              23   requiring the transfer of the domain name to Defendant. (WIPO Arbitration and
                              24   Mediation Center Case No. D2022-3835) [EXHIBIT C]. As of the date of the filing of
                              25   this First Amended Complaint, the domain name continues to be “locked” pending the
                              26   transfer of the registration to the Defendant pursuant to the UDRP decision.
                              27      15.     Plaintiff’s use of the term as a domain name has not traded upon any goodwill
                              28   or reputation enjoyed by Defendant as it relates to the products that Defendant offers, nor
                                                                                  4
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                               1   is there any possibility of confusion between the products offered by Defendant to the
                               2   general public. Further, Defendant did not cite one instance of consumers being confused
                               3   by Plaintiff’s web site and Defendant’s web site.
                               4       16.     Plaintiff’s use of ProminenceHealth.com as his chosen domain name is a fair
                               5   or otherwise lawful use of the term.
                               6       17.     At no time, did Plaintiff trade upon or use Defendant’s trademarks for
                               7   “Prominence Health”.
                               8       18.     At no time did the Plaintiff register or use the domain name
                               9   ProminenceHealth.com in “Bad Faith” as defined by 15 U.S.C. §1125.
                              10       19.     Due to the impending transfer of the domain name to the Defendant pursuant
                              11   to the Decision by the WIPO Panel, Plaintiff is now forced to bring this action to protect
                              12   its rights in its intellectual property. Plaintiff has had to retain counsel and incur
                              13   substantial fees and costs to bring this suit.
                              14       20.     Because WIPO has directed that the ProminenceHealth.com domain name
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                              15   be transferred to Defendant, this Court has jurisdiction under 15 U.S.C. §1114(2)(D)(v)
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                              16   to determine whether Plaintiff’s registration and use of ProminenceHealth.com is
                              17   unlawful under the ACPA and the Lanham Act.
                              18       21.     Based on the facts set forth herein, an actual controversy has arisen and now
                              19   exists between Plaintiff and Defendant regarding whether or not Plaintiff’s use of the
                              20   term ProminenceHealth.com as its domain name infringes Defendant’s trademarks
                              21   and/or constitutes trademark dilution and/or can serve as the basis for any relief under
                              22   any Federal or state law.
                              23       22.     Plaintiff has never sold, transferred, or trafficked in the domain name. Nor
                              24   has Plaintiff at any time specifically offered to sell the domain name to Defendant,
                              25   though the domain name, along with other domain names registered by Plaintiff are
                              26   available for sale.
                              27       23.     At all times, Plaintiff utilized the domain name in a bona fide manner for bona
                              28   fide purposes.
                                                                                    5
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                               1      24.     Plaintiff did not have any intent to divert consumers from the mark owner's
                               2   online location to a site accessible under the domain name that could harm the goodwill
                               3   represented by the mark, either for commercial gain or with the intent to tarnish or
                               4   disparage the mark, by creating a likelihood of confusion as to the source, sponsorship,
                               5   affiliation, or endorsement of the site.
                               6      25.     Plaintiff did not provide material and misleading false contact information
                               7   when applying for the registration of the domain name. Plaintiff did not fail to maintain
                               8   accurate contact information with respect to the domain name in question or with respect
                               9   to any other domain name.
                              10      26.     Plaintiff’s use of ProminenceHealth.com as its chosen domain name is a fair
                              11   or otherwise lawful use of the term.
                              12      27.     Because of the actions of Defendant, and its claims of trademark infringement
                              13   and dilution, Plaintiff faces losing valuable rights in its Internet domain name.
                              14
                                                                 FIRST CLAIM FOR RELIEF
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                              15            Declaratory Relief – No Violation of the Lanham Act, 15 U.S.C. §1125 (d)
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                              16      28.     Mira Holdings, Inc. incorporates by reference the factual allegations set forth

                              17   in Paragraphs 7 through 26 above.

                              18      29.     The ACPA, provides a cause of action for a registrant whose domain name

                              19   has been suspended, disabled, or transferred by which the registrant may sue for a

                              20   declaration that the registrant is not in violation of the Act and for injunctive relief to the

                              21   domain name registrant, including the reactivation of the domain name. 15 U.S.C.§

                              22   1114(2)(D)(v).

                              23      30.     Section 1114(2)(D)(v) provides a registrant who is threatened with the loss of

                              24   his domain name under the UDRP with a cause of action for an injunction returning the

                              25   domain name if the registrant can show that the registrant is in compliance with the

                              26   ACPA.

                              27      31.     Defendant does not have a registered U.S. Trademark for “Prominence

                              28   Health” nor did it have such a right at the time Plaintiff registered the domain name.
                                                                                 6
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                               1      32.     Plaintiff did not register the domain name ProminenceHealth.com with the
                               2   bad faith intent to profit from the goodwill of defendant as “Bad Faith” is defined in 15
                               3   U.S.C. §1125(d)(1)(A)(1).
                               4      33.     Plaintiff is entitled to have the unencumbered use of the domain name
                               5   ProminenceHealth.com and to have the domain name reactivated and to have any and
                               6   all suspensions or transfers terminated and prohibited.
                               7      34.     The Defendant intentionally misrepresented to the UDRP Panel that the
                               8   disputed Domain Name was used to attract, for commercial gain, Internet users to the
                               9   Plaintiff’s website or other on-line locations, creating the possibility of confusion with
                              10   the mark of the Defendant as to the source or commercial origin of those products,
                              11   though Defendant knew that there were no products of Defendant or Defendant’s
                              12   competitors being promoted by Plaintiff.
                              13      35.     As a direct and proximate result of Defendant’s wrongful conduct, Mira
                              14   Holdings, Inc. has been and will continue to be damaged.
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                              15      36.     Unless this Court issues a Declaratory Judgment that Plaintiff is entitled to
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                              16   maintain registration of its Domain Name, ProminenceHealth.com, the transfer of the
                              17   Domain Name to Defendant will damage Plaintiff irreparably. Mira Holdings, Inc. has
                              18   no adequate remedy at law.
                              19      37.     Defendant’s acts make this an exceptional case under 15 U.S.C. §1117(a), and
                              20   Mira Holdings, Inc. is thus entitled to an award of attorney’s fees and costs.
                              21      38.     Alternately, Mira Holdings, Inc. is entitled to elect statutory damages instead
                              22   of actual damages and profits, pursuant to 15 U.S.C. §1117 (d).
                              23
                                                              SECOND CLAIM FOR RELIEF
                              24                           Injunctive Relief– 15 U.S.C. §1114(2)(D)
                              25      39.     Mira Holdings, incorporates by reference the factual allegations set forth in
                              26   Paragraphs 7 through 26 above.
                              27      40.     Section 1114(2)(D)(iv) provides that when a registrar takes an action to
                              28   transfer a domain name “based on a knowing and material misrepresentation by any other
                                                                            7
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                               1   person that a domain name is identical to, confusingly similar to, or dilutive of a mark,
                               2   the person making the knowing and material misrepresentation shall be liable for any
                               3   damages, including costs and attorneys’ fees, incurred by the domain name registrant as a
                               4   result of such action.”
                               5      41.        Section 1114(2)(D)(v) provides a registrant may “file a civil action to
                               6   establish that the registration or use of the domain name by such registrant is not
                               7   unlawful under this Act.” Under this section, a “court may grant injunctive relief to the
                               8   domain name registrant, including the reactivation of the domain name or transfer of the
                               9   domain name back to the domain name registrant.”
                              10      42.        Mira   Holdings’    registration       and   use   of   the   domain    Name
                              11   ProminenceHealth.com was not unlawful under Title 15, United States Code, §
                              12   1114(2)(D)(v).
                              13      43.        The UDRP Decision is due no deference in this court, which must perform a
                              14   de novo review of the allegations herein presented.
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                              15   WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
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                              16            A.     For an Order directing the registrar GoDaddy.com to take all action
                              17   necessary to enable the domain name ProminenceHealth.com; to reactivate the domain
                              18   name; to discontinue any suspension of the domain name; and to refrain from transferring
                              19   the domain name from Plaintiff to Defendant;
                              20            B.     For a declaration from this Court that Plaintiff’s registration, use and
                              21   possession of the domain name ProminenceHealth.com neither infringes defendant’s
                              22   trademarks, nor dilutes the trademarks in any manner nor constitutes a violation of any
                              23   Federal or State law;
                              24            C.     For a declaration from this Court that Plaintiff may continue to use and
                              25   enjoy its chosen domain name without interference of any type by the Defendant;
                              26            D.     For injunctive relief prohibiting Defendant from interfering with or
                              27   challenging Plaintiff’s registration, possession or use of the subject domain name;
                              28
                                                                                    8
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                               1         E.      For attorney’s fees and costs incurred by the Plaintiff in bringing this
                               2   action; and
                               3         F.      For such other relief as this Court may deem just and proper.
                               4   DATED: February 15, 2023
                               5                                                   GINGRAS LAW OFFICE, PLLC
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                               1                                          JURY DEMAND
                               2
                               3   Demand for Jury Trial Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure,
                               4   Plaintiff respectfully requests a trial by jury of all issues so triable.
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